Case 2:22-cv-02828-MCA-AME         Document 77     Filed 08/16/24   Page 1 of 4 PageID: 899




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

   SHIRLEY CRAWFORD, MATTHEW
   JORDAN, MELISSA ALEJANDRO,                 Civil Action No. 2:22-cv-02828-
   NICOLA SOBERS, JANICE BUTLER, MCA-AME
   PAULINE DION, LISA SAGHY, and
   RICHARD ANGEMI, individually and
   on behalf of all those similarly situated, JOINT STIPULATED &
                                              ORDER OF DISMISSAL
                     Plaintiffs,

                v.

   SAMSUNG ELECTRONICS
   AMERICA, INC., and SAMSUNG
   ELECTRONICS CO., LTD.,

                     Defendants.


        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

  Plaintiffs Shirley Crawford, Matthew Jordan, Melissa Alejandro, Nicola Sobers,

  Janice Butler, Pauline Dion, Lisa Saghy, and Richard Angemi (collectively,

  “Plaintiffs”), on the one hand, and Defendants Samsung Electronics America, Inc.

  and Samsung Electronics Co., Ltd. (collectively, “Defendants”), on the other,

  hereby stipulate and agree that: all individual claims that Plaintiffs asserted or could

  have asserted on their own behalf in the litigation are hereby dismissed with

  prejudice. Plaintiffs and Defendants have resolved all issues concerning Plaintiffs’

  alleged claims and the parties’ attorneys’ fees and costs.

        This dismissal does not affect the rights of any putative class member. The

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Case 2:22-cv-02828-MCA-AME        Document 77    Filed 08/16/24    Page 2 of 4 PageID: 900




  notice and approval requirements of Federal Rule of Civil Procedure 23(e) are

  inapplicable because this action has not been certified as a class, and a class is not

  proposed to be certified.

        The parties jointly request that the Court enter the accompanying Proposed

  Order dismissing this action.



  IT IS SO STIPULATED, through Counsel of Record.

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  Attorneys for Plaintiffs                      Attorneys for Defendants

  By: V'RQDOG$(FNOXQG                      By: /s /L]D0:DOVK
          Donald A. Ecklund                          Liza M. Walsh

  Date: $XJXVW, 2024                                  $XJXVW
                                                Date: _______________, 2024




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Case 2:22-cv-02828-MCA-AME          Document 77   Filed 08/16/24   Page 3 of 4 PageID: 901




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


   SHIRLEY CRAWFORD, MATTHEW Civil Action No. 2:22-cv-02828-
   JORDAN, MELISSA ALEJANDRO,                 MCA-AME
   NICOLA SOBERS, JANICE BUTLER,
   PAULINE DION, LISA SAGHY, and
   RICHARD ANGEMI, individually and
   on behalf of all those similarly situated,

                      Plaintiffs,

                 v.

   SAMSUNG ELECTRONICS
   AMERICA, INC., and SAMSUNG
   ELECTRONICS CO., LTD.,

                      Defendants.


                                ORDER
                  ENTERING JOINT STIPULATED DISMISSAL

         Having considered the parties’ Joint Stipulated Dismissal of this action with

  prejudice as to the individual claims of Plaintiffs Shirley Crawford, Matthew Jordan,

  Melissa Alejandro, Nicola Sobers, Janice Butler, Pauline Dion, Lisa Saghy, and

  Richard Angemi (collectively, “Plaintiffs”), and good cause appearing therefore, IT

  IS HEREBY ORDERED that:

         1.     This action is dismissed with prejudice as to the individual claims of

  Plaintiffs;

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Case 2:22-cv-02828-MCA-AME      Document 77    Filed 08/16/24   Page 4 of 4 PageID: 902




           2.   The parties have resolved all issues concerning attorney’s fees and

  costs.

  IT IS SO ORDERED.


  Dated: _______________
          8/16/24                       ____________________________
                                        Hon. Madeline Cox Arleo
                                        United States District Judge




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